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                 EXHIBIT B-058
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                                                                                      FILED IN, OFFICE




                                                                                                                \)
                      IN THE SUPERIOR COURT OF FULTON COUNTY

                                       STATE OF GEORGIA
                                                                                         ANEWW
                                                                                     DEPUTY CLERR‘SUPERI     OURT
                                                                                          FULTON COUNTY, o

IN RE:                                         )
SPECIAL PURPOSE GRAND JURY                     )                  2022-EX-000024
                                               )
                                               )'                 Judge Robert C.I. McBurney
                                               )
                                               )

 RUDOLPH WILLIAM LOUIS GIULIANI’S REPLY TO THE STATE’S RESPONSE
   TO HIS EMERGENCY MOTION TO CONTINUE HEARING/GRAND IURY
             APPEARANCE PURSUANT TO O.C.G.A § 24-13-26

         COMES NOW, Rudolph William Louis Giuliani, by and through counsel, William

H. Thomas, Ir. and pursuant to O.C.G.A. § 24-13-26, and replies to the State's response to

Mr. Giuliani’s motion for continuance of his scheduled Grand Jury Appearance on

August 9, 2022. In support of his request for continuance, Mr. Giuliani shows as follows.

                                                    (1)

         In response to Mr. Giuliani’s Motion to Continue Hearing/Grand Jury appearance, the state

notes that “the Witness purchased multiple airline tickets with cash, including tickets to Rome,


Italy, and Zurich, Switzerland for travel dates ranging between July 22, 2022 and July 29, 2022”

and “that [a]ll of these dates were after the Witness’s medical procedure. (emphasis added).

         First, and foremost, conspicuously absent from the state’s pleading is the fact that no such

travel ever occurred. Secondly, Mr. Giuliani   w          purchased airline tickets in cash, or otherwise.
                                                                                                   I




The complete facts are as follows.

         Prior to his medical procedure, an international organization had invited Mr. Giuliani to

attend a conference overseas. The planning and invitation for this event occurred weeks, if not

months, prior to Mr. Giuliani’s medical procedure. In addition to Mr. Giuliani attending the
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conference, other U.S. ofﬁcials and dignitaries were scheduled to attend. Ultimately the conference

was canceled by the organizers, due in part, to Mr. Giuliani’s health. Again, Mr. Giuliani himself

did not purchase any tickets for himself or anyone else. Presumably, the event organizers or some

other third—party could have purchased tickets on his behalf, but that is unknown to Mr. Giuliani

or his counsel. In any event, Mr. Giuliani has not travelled by plane to any location following his

surgical procedure.


       During the time Mr. Giuliani was scheduled to be overseas, he was also scheduled to give

a speech in Rome, Italy. Again, this scheduled appearance pre-dated the medical procedure at

issue. Mr.Giuliani did not purchase any tickets for Rome. He did not ﬂy to Rome or anywhere else


following his surgery. Mr. Giuliani, based solely on his health, canceled his speech in Rome. Mr.

Giuliani has no knowledge of anyone else purchasing tickets for him to travel to Rome, but in any

event he did not go.

       It is important to note that these concerns were never raised with Mr. Giuliani’s New York

counsel, or the undersigned when attempting to seek a reasOnable accommodation of this matter.

(See Exhibits H — J, of Mr. Giuliani’s original motion to continue). Had these concerns beenlraised

at any time prior to the ﬁling of the motion to continue, these facts would have been provided to

the State. The State, however, rather than engage in meaningful dialogue to achieve a workable

solution here, elected not to return a phone call to the undersigned, after promising to do; so on

Friday afternoon, necessitating the ﬁling of the instant motion to continue. To reiterate for the

Court, and most importantly the State, Mr. Giuliani is not seeking to avoid, disrupt or

inappropriately delay these proceedings. He simply seeks some reasonable accommodationf based

on a documented health concern.


Dated: August 8, 2022.                                                                      '
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                                                   L)


                                  Respectfully submitted,



                                  (96371721771   @6 (Emmy (Jr
                                  William H. Thomas, Jr.
                                  Georgia Bar No. 706610
                                  THE W.H. THOMAS FIRM, LLC
                                  511 E. Paces Ferry Road
                                  Atlanta, GA 30305
                                  404-897-3523 (ofc)
                                  678-965-1781 (fax)
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                     IN THE SUPERIOR COURT OF FULTON COUNTY

                                      STATE OF GEORGIA

IN RE:                                        )
SPECIAL PURPOSE GRAND JURY                    )               2022-EX-000024
                                              )
                                              )               Judge Robert C.I. McBurney
                                              )
                                              )

                                 CERTIFICATE 0F SERVICE
This is to certify that I have this day served a copy of the following pleading:

 RUDOLPH WILLIAM LOUIS GIULIANI’S REPLY TO THE STATE’S RESPONSE
   TO HIS EMERGENCY MOTION TO CONTINUE HEARING/GRAND IURY
            APPEARANCE PURSUANT TO O.C.G.A § 24-13-26

by statutory electronic service, on August 8, 2022, upon:

                               Fani.WillisDA@fultoncountyga.gov
                                  Fani Willis, District Attorney
                             Fulton County District Attorney’s Ofﬁce
                                         141 Pryor St. SW
                                        Atlanta, GA 30303

                                Will.Wooten@fu1toncountvga.gov
                                          Will Wooten
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                                     nathanwade la er.com
                                         Nathan J. Wade
                                 Wade, Bradley & Campbell Firm
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                                         Atlanta, GA 30339

[Signature Page to Follow]
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                                          Respectfully submitted,

                                          Willa»: d6 ”(WM/1w, (yr
                                          William H. Thomas Jr.
                                          Ga. Bar No. 706610
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